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           EXHIBIT A
                                                                                                                    E-FILED; Montgomery County District Court - Rockville
                                        Case 8:24-cv-01667-LKG                                 DocumentDocket:
                                                                                                        3 Filed    06/07/24
                                                                                                               4/24/2024       Page
                                                                                                                         5:33 PM;    2 of 3 4/24/2024 5:~M
                                                                                                                                  Submission:
  ~           D                                                                                              ~._..             -     _....""...                               Fnvclnna• 1R2           9
                                 LOCATED AT (COURT ADDRESS)
                                                                                                            COMPLAINT/APPLICATION AND AFFIDAVIT                                    .
       ,*.                                                                                                                 IN SUPPORT OF JUDGMENT
       f*R
                                                                                                                         ❑ _$,QQQ_Qr under             © over SS,000
                                                                                                       Cleik: Please docket this case in an aolion of ❑ oontract ® tort ❑ replevin
(jy D-06-CV-24-9                                                                                       ❑ detinue ❑ bad fafth insurance claim ❑ consumer debt (original credit+ar)
                                                                                                       The particulars of this case are:
                                      PARTIES
  Plaintiff- Name Address, Telephone Number                                                            On July 13, 2023 and several other occasions I received
 Stanley Shapiro c/o Law Offices of Stephen H. Ring, P.C., 401                                         unsolicited calls to my cellular telephone served by the number
   orth Washington Street, Suite 500, Rockville, MD 20850                                              XXX-XXX-1979 that were initiated by Defendant, in violation of
  01-563-9249                                                                                          47 USC 227 and the FCC's regulations thereunder, and in
                                                                                                       violation of MD-TCPA, Maryland Annotated Code, Commercial
                                    •             vs.                                                  Art. & 14-3201-3202.
 Defendant(s) - Nante, Addrass, Telephone Number                                        Serve by:
  1.                                                                                    ❑ Certi6ed
 QuinStrces, lrtc., Sth F1oor,1051 H. Htllsdnlo Bh•d, Fostcr Chy, CA 94404 Seivc:          Mail
 C86t.awyere l°cmporating Scrvi¢e Company, 7 St. Paul Streat, suite 820, Beltirttore,   © private
 I+D 21202
                                                                                          Process
                                                                                        ❑ Constable
                                                                                        ❑ Sheriff
  2.                                                                                    3ecve bye'--                                              See Continuation Sheet)
                                                                             ❑ I am interested in trying to resolve this dispute through mediation/ADR.
                                                                                        ❑ Certified
                                                               Mail          (You will be contacted about ADR services after the defendant is served)
                                                          ❑ Private
                                                             Pr~ The plaintiff claims:
                                                          ❑ Constable Principal: $ 30,000
                                                          ❑ Shedff           Pre-judgment interest at the 0 legal rate ❑ contractual rate, calculated at
  3.                                —           --        Serve by:                                %, from 7/13/2023                       ta present
                                                          ❑ Certified                                  days    x
                                                               Mail          (•                   —              $                         per day)
                                                          ❑ Piivate          Total Principal + pre judgment interest: $~__.____.___..__
                                                             Process         Post judgment interest at the ❑ legal rate ❑ contractual rate until
                                                          ❑ Constable                                            , legal rate thereafter 0 waived
                                                          D Sheriff
.,_~_.—_...—_.._.__._._. ._—._..._....__--~-_ ._----•--._ __~..._            and attomey's  fees      of   $  30,000                        I plus court costs.
                                                                      _... .
 4.                                                       3erve by'._        ❑ Retum of the property valued at $__.                                 and damages of
                                                          ❑ Certified
                                                              Mail              $          _.... .._..--.--..  for its  detention  in an action  of replevin.
                                                          ❑ Private          ❑ Return of the property, or its value, $                                 and damages
                                                             Process            of $—_ .-.                           • - for its detention in action of detinue.
                                                                                        ❑ Constable
                                                                                        ❑ Sheriff      C
                                                                                                                            dp —d for relief.
                                                                                                              ZaW dg             '                   L~ 7806010137
                                   ATIORNEYS                                                                      gna  of P7ainh   ttorney~eyt a~         Attotney um er
 For Plaiotiff—Name, Address, Telephone Number & Code
                                                                                                              Name: StephenÆL Ring AIS
                                                                                                              ,: 401 North Washington Street, Suite 500, Rockville, IVID

                                                                                                                 : 301-562-9249                           .__- gax; 301-563-9639
                                                      MILITARY SE                                               AFFIDAVIT                                               ❑ Verified through DOD at•.
❑ Defendant(s)                                                                                                  -     -_ is/are in the military service.                  http://sera.dmdc.osd.miV
                                               1`oane
L(1 No defendant is in the military service. The facts supporting this                                              are: defendant is a coayoration
                                     s,00.se~,:~ h.s o,.°,.«orn.:~~ h.do~                                                ie o naturd pcmon in nn1in U.
❑ I am unable to determine whether or not any de'endant is in militai
I hereby declare or affirm under the penalties of perjury that the facts                                    matters set forth in this Affidavit are true and correct to the best of
my knowledge, information, and belief.
                                                                                                       siB,an,re ofAtrane
           APPLICATION AND AFFIDAVIT IN SUPPORT OF~JUDGMENT (See Plaintiff Notice on Back Page)
The attached documents contain sufficient detail as to liability and damage to notify the defendant clearly of the claim against the defendant,
including the amount of any interest claimed.
❑ Properly authenticated copy of any note, security agreement upon which claim is based ❑ Itemized statement of account ❑ Interest
worksheet ❑ Vouchers ❑ Check ❑ Other written document ❑-_ .._ _.. : .._...... ........_.-        ❑ Verified itemized repair bill or estimate
I HEREBY CERTIFY: That I am the ❑ plaintiff ❑                                  __ of the plaintiff herein and am competent to testify to the
matters stated in this complaint, which are made on my personal knowledge; that therc is justly due and owing by the defendant to the
plaintiffthe sum set forth in the complaint.
I solemnly affirm under the penalties of perjury and upon personal knowledge that the contents of this document are true.
-----------__        _                                                                                  Signature of Affiant
DC-CV-001(front) (Rev. 10/01/2023)                                                                                                  CMPET
                          Case 8:24-cv-01667-LKG   Document 3 Filed 06/07/24
                                               NOTICE TO DEFENDANT
                                                                                                                    Page 3 of 3
                                                                         Before Trial
T1~is complaint    contains   the details of  the plaintiff's claim  against    you and the relief that the plaintiff (the person or company suing you)
seeks. The plaintiff has the burden to provide evidence       to prove  their   case at trial. If the plaintiff has completed the affidavit portion of the
complaint form,    the  evidence  should  be attached  to the complaint.
                                                                                                                                                        Court
You may hire your own attorney. If you're not able to hire an attorney, you can get legal help from an attorney through a Maryland                  or by live
Help Center. Court locations are open Monday to Friday from 8:30              a.m.  to 4:30   p.m.  Help   is available by  phone  at 410-260-1392
chat Monday through       Friday from 8:30   a.m. to 8:00  p.m.  For Help   Center   locations,   visit:  mdcourts.gov/h  elpcenter.
                                                                                                                                           Maryland Court
Court staff, including clerks are not permitted to give you legal advice. If you have any questions, you should consult the
Help Center or your own attorney.
                                                                                                                                                         case
If you wish to contest (fight) the claim, you must file the Notice of Intention to Defend (located at the bottom of your summons). The
                                             your witnesses   appear  at trial,  you should    contact   the clerk's office at least two (2) weeks before the
will be set for trial. If you wish to have                                                                                                               bring
trial date to request subpoenas, and you should bring to court on the trial date all evidence you want the court to consider. If you don't
your evidence to the hearing, the judge can't consider it.
If you do nothing, a judgment could be entered against you that may result in a lien on your property, garnishment of your wages,
and freezing your bank account.
You may request a remote hearing. For more information about remote hearings, visit mdcourts.gov/district/remotehearings or contact the
court (mdcourts.gov/district/directories/courtmap). If you do not attend the hearing, a judgment could be entered against you.
                                                  If Judgment is Entered Against You (If You Lose)
IF YOU DISAGREE WITH THE COURT'S RULING, you may:
   1. Ask the court for a new trial by filing a Motion for a New Trial witliin ten (10) days after the entry of judgment, stating your reasons
        clearly. If the court denies your motion, you may still file an appeal; if the court grants your motion, you must appear in the District
        Court for a new trial.
   2. Ask the court to change the judgment by filing a Motion to Alter or Amend the Judgment within ten (10) days after the entry of
        judgment.
   3. Ask the court to change or undo the judgment by filing a Motion to Revise or Vacate the Judgment within 30 days after the entry of
        judgment.
   4. APPEAL to the circuit court, by filing a Notice of Appeal in the District Court within 30 days after the entry of judgment. You will
        have to pay a filing fee (see Guide to Appeal Fees - DCA-109A), unless the court determines that you are indigent. If the amount of the
        claim, not including court costs, interest, and attomey's fees, was $5,000 or less, you will have a new trial in the circuit court. If the
        amount of the claim was more than $5,000, you will also have to order and pay for a transcript of the District Court trial record by
        contacting the District Court clerk's office (see Transcripts & Recordings Brochure - DCA-027BR).

IF YOU DECIDE NOT TO APPEAL AND NOT TO FILE ONE OF THE ABOVE MOTIONS, you may contact the plaintiff or
plaintiffs attorney to arrange to pay the amount owed. If you do not pay the amount owed, the plaintiff or plaintiff's attomey may initiate
further proceedings to enforce the judgment, including:
  1. Judgment Debtor Information Sheet: You may receive form CC-DC-CV-1 14 from the plaintiff requesting information about your
       income and debts. If you complete the form accurately and return it to the creditor as indicated, you will not have to answer
       interrogatories or appear for an oral examination for at least a year from the date of judgment. NOTE: A Judgment Debtor Information
       Sheet may not be used to enforce a money judgment resulting from a small claims action (amount sued for was $5,000 or less,
       exclusive of interest, costs, and attorney's fees).
  2. Interrogatories: These are written questions. You must answer these written questions about your income and assets in writing under
       penalties of perjury. NOTE: Inten•ogatories may not be used to enforce a money judgment resulting from a small claims action
       (amount sued for was $5,000 or less, exclusive of interest, costs, and attorney's fees).
   3. Oral Examination: You must appear in court to testify in response to questions about your assets and income. NOTE: An oral
       examination may not be used to enforce a money judgment resulting from a small claims action (amount sued for was $5,000 or less,
       exclusive of interest, costs, and attorney's fees).
   4. Writ of Execution: This document requires the sale or seizure of any of your possessions. Some of your property or possessions may
        be protected from the writ. These exemptions are explained in detail on the reverse side of the Writ of Execution form
       DC-CV-040. The court could order you to pay additional expenses such as towing, moving, storage fees, advertising costs, and
        auctioneer's fees incurred in executing the writ.
   5. Garnishment of Property: The court may issue a writ freezing your bank account or holding your assets until further court
        proceedings.
    6. Garnishment of Wages: The court may issue a writ ordering your employer to withhold a portion of your wages to pay your debt.
        The law provides certain exemptions from garnishment.
 If you have any questions, you should consult an attorney. Court staff are not permitted to give you legal advice. More information can be
 found in court brochures located in the clerk's office or online at: mdcourts.gov/district/public_brochures or
 mdcourts.gov/legalhelp/moneyissues
                                                            NOTICE TO PLAINTIFF

 REQUESTING A JUDGMENT BY AFFIDAVIT OR DEFAULT:
 Federal Law requires the filing of a military service affidavit. Information about the Servicemembers Civil Relief Act and the required
 affidavit can be found on the court's website at: mdcourts.gQv/reference/scra.
 AFTER THE COURT ENTERS A JUDGMENT:
   1. If the court enters a judgment for a sum certain, you have the right to file for a lien on real property.
   2. If you disagree with the outcome of the case, you have the same post-trial rights as the defendant does:
        you may file an Appeal, a Motion for New Trial, a Motion to Alter or Amend the Judgment or a Motion to Revise or Vacate the
        Judgment. See above for further information concerning these rights.
 DC-CV-001 (back) (Rev. 10/01/2023)                                                                                                CMPET
